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                            UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF WISCONSIN


MIKIEA PRICE,
as mother and next friend of J.K.,
a minor,

               Plaintiff,
       v.                                                    Case No. 19-cv-854

ROBERT MUELLER-OWENS,
MADISON METROPOLITAN SCHOOL DISTRICT,

and

ABC INSURANCE COMPANY,

               Defendants


                                         COMPLAINT



       Mikiea Price, as mother and next friend of J.K., a minor, by her attorneys, Lawton &

Cates, S.C., by Daniel S. Lenz, states the following complaint:

                                       INTRODUCTION

       1.      This is a civil rights action by a minor who, while attending a Madison public

               school, was injured without justification by an administrator and employee.

       2.      On February 13, 2019, Mueller-Owens struck, pushed, and pulled the hair of J.K.,

               an eleven-year old African-American student at Whitehorse Middle School in

               Madison, Wisconsin.

       3.      Mueller-Owens use of force against J.K. was a violation of her constitutional rights,

               as well as a violation of Madison Metropolitan School District (“MMSD”) policies

               regarding restraint, seclusion and contact with students.
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                        JURISDICTION AND VENUE

4.    The United States District Court for the Western District of Wisconsin has

      jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1343.

5.    This Court has supplemental jurisdiction over state law claims pursuant to 28 U.S.

      Code § 1367.

6.    Venue is proper pursuant to 28 U.S.C. §§130(b) and 1441(a) as this action arose in

      Dane County in the Western District of Wisconsin.

                                   PARTIES

7.    Mikiea Price is the mother of a minor, J.K. Mikiea Price is an adult resident of

      Madison, Wisconsin. Price brings this action on behalf of J.K. pursuant to Federal

      Rule of Civil Procedure 17(c).

8.    J.K. is now twelve years old and resides in Madison, Wisconsin. At the time of the

      acts and omissions described in this Complaint, J.K. was eleven years old.

9.    During the 2018-2019 school year, including on February 13, 2019, J.K. attended

      Whitehorse Middle School in Madison, Wisconsin.

10.   Robert Mueller-Owens was, at all times relevant, an adult resident of Wisconsin

      and an employee of the Madison Metropolitan School District, employed at

      Whitehorse Middle School. Mueller-Owens is being sued in his individual and

      official capacities.

11.   As of February 13, 2019, Mueller-Owens was employed as a Positive Behavior

      Coach at Whitehorse Middle School.

12.   Madison Metropolitan School District (“the District”) is a public school district in

      the State of Wisconsin within this judicial district.



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     13.   Defendant ABC Insurance Company is the fictitious name for an unknown

           insurance company whose address and registered agent for service are unknown to

           the plaintiffs. On information and belief, ABC Insurance Company had in full force

           and effect policy(ies) of insurance issued to MMSD that provided liability coverage

           for the acts alleged in this complaint.

                                              FACTS

I.   J.K.’s IEP

     14.   Prior to February 13, 2019 and at all times relevant, J.K. was the subject of an

           individualized education program (“IEP”).

     15.   As of February 13, 2019, J.K.’s IEP included behavioral strategies, including

           strategies to address problems after they occur. Those strategies were to provide

           J.K. with a predesignated safe space to calm; to provide sufficient time and space;

           and to provide access to a trusted adult and opportunity to call her mother.

     16.   As part of her IEP, MMSD indicated that staff were to avoid “too much talking” or

           yelling” and instead rely on “calm redirection of expectations” and reminders for

           J.K. to go to a predesignated safe space, as well as an opportunity to speak to her

           mother or other trusted adult.

     17.   Price requested J.K.’s IEP following a series of behavioral incidents which

           impacted J.K.’s academic performance.

     18.   J.K.’s IEP noted that J.K. responded to frustration by using inappropriate language,

           walk away from staff, shut down, yell and cry.

     19.   J.K.’s IEP also noted J.K.’s asthma diagnosis.




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II.    MMSD Policy on Restraint & Seclusion

       20.    At all times relevant, MMSD maintained a “Guide to Restraint and Seclusion.”

       21.    The Guide to Restraint and Seclusion defined “Restraint” as “A restriction that

              immobilizes or reduces the ability of a pupil to freely move his or her torso, arms,

              legs, or head. Briefly touching or holding a pupil’s hand, arm, shoulder or back to

              calm, comfort or redirect the pupil is not deemed to be restraint.” (emphasis

              original).

       22.    The Guide to Restraint and Seclusion included the following “Restraint

              Precautions”: Medical contraindications; head, neck, chest; no corporal

              punishment; no chemical or mechanical restraint; only as long as necessary to

              resolve “Clear Present Imminent Risk.”

       23.    The Guide to Restraint and Seclusion indicated that Restraint and Seclusion may

              only be used when there is a Clear Present Imminent Risk to Physical Safety and

              when it is the least restrictive intervention feasible.

III.   Wisconsin Statute - Restraint and Seclusion

       24.    Wisconsin Statute section 118.305 governs the use of seclusion and physical

              restraint in Wisconsin schools.

       25.    Pursuant to section 118.305(1)(g), “Physical restraint" means a restriction that

              immobilizes or reduces the ability of a pupil to freely move his or her torso, arms,

              legs, or head.

       26.    Section 118.305(3) reads as follows:

              (3)     Physical restraint; conditions for use. A covered individual may use
                      physical restraint on a pupil at school only if all of the following
                      apply:



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                   (a)     The pupil's behavior presents a clear, present, and imminent
                           risk to the physical safety of the pupil or others and it is the
                           least restrictive intervention feasible.
                   (b)     There are no medical contraindications to its use.
                   (c)     The degree of force used and the duration of the physical
                           restraint do not exceed the degree and duration that are
                           reasonable and necessary to resolve the clear, present, and
                           imminent risk to the physical safety of the pupil or others.
                   (d)      None of the following maneuvers or techniques are used:
                           1.       Those that do not give adequate attention and care to
                                    protecting the pupil's head.
                           2.       Those that cause chest compression by placing
                                    pressure or weight on the pupil's chest, lungs,
                                    sternum, diaphragm, back, or abdomen.
                           3.       Those that place pressure or weight on the pupil's
                                    neck or throat, on an artery, or on the back of the
                                    pupil's head or neck, or that otherwise obstruct the
                                    pupil's circulation or breathing.
                   (e)     It does not constitute corporal punishment, as defined in s.
                           118.31 (1).
                   (f)     The covered individual does not use a mechanical or
                           chemical restraint on the pupil. The use of supportive
                           equipment to properly align a pupil's body, assist a pupil to
                           maintain balance, or assist a pupil's mobility, under the
                           direction and oversight of appropriate medical or therapeutic
                           staff, does not constitute the use of a mechanical restraint.

      27.   Section 118.31 defines “corporal punishment” as “the intentional infliction of

            physical pain which is used as a means of discipline.”

IV.   Mueller-Owens’s History at Whitehorse Middle School

      28.   Prior to February 13, 2019, Mueller-Owens had received Non-Violent Crisis

            Intervention training though MMSD.

      29.   Prior to February 13, 2019, Mueller-Owens had met and interacted with J.K.,

            including working with J.K. and Price regarding behavioral issues at Whitehorse

            Middle School.

      30.   Mueller-Owens knew or should have known the contents of J.K.’s IEP, including

            the various strategies identified as appropriate responses to behavioral incidents.

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     31.   Mueller-Owens knew or should have known the various policies and statutes that

           governed the use of physical restraint and/or force involving students.

V.   Events of February 13, 2019

     32.   On February 13, 2019, J.K. was attending school at Whitehorse Middle School.

     33.   That day, J.K.’s teacher, Barbara Pietz, asked J.K. to leave the classroom. Pietz

           indicated that she had a scent allergy and that J.K. smelled too strongly of perfume.

     34.   J.K. refused to leave the classroom after the request from Pietz.

     35.   Pietz repeated her request that J.K. leave the room.

     36.   J.K. again refused to leave the classroom.

     37.   In response, Pietz called Mueller-Owens and Tammy Gue, a Whitehorse Middle

           School Special Ed Assistant, for behavioral support.

     38.   Mueller-Owens and Gue went to Pietz’s classroom.

     39.   Upon the arrival of Mueller-Owens and Pietz, Mueller-Owens approached J.K. near

           the classroom desks.

     40.   J.K. moved several times within the classroom, and Mueller-Owens followed her.

     41.   Mueller-Owens repeatedly asked J.K. to leave the classroom.

     42.   J.K. continued to refuse to leave the classroom.

     43.   Mueller-Owens thereafter instructed Pietz to have the rest of the students leave the

           classroom.

     44.   J.K. responded that she would leave the classroom so the rest of the students did

           not have to.

     45.   After J.K. responded that she would leave the classroom, Mueller-Owens was

           standing outside the classroom door.



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46.   J.K. attempted to close the classroom door with Mueller-Owens outside.

47.   Mueller-Owens put his foot in the door and opened it.

48.   At that point, Mueller-Owens put his hand on J.K.

49.   J.K. responded and told Mueller-Owens not to touch her.

50.   Mueller-Owens began pushing J.K. out of the classroom using an open hand on her

      back.

51.   J.K. resisted Mueller-Owens’s contact.

52.   Mueller-Owens struck J.K. several times.

53.   Mueller-Owens further restricted J.K.’s movements by placing her in a restrictive

      hold.

54.   Gue attempted to intervene and end the physical contact between Mueller-Owens

      and J.K.

55.   Mueller-Owens thereafter pushed J.K. across a hallway and into a bank of lockers.

56.   As a result of Mueller-Owens use of force, Mueller-Owens and J.K. were thrown

      to the ground.

57.   Mueller-Owens also pulled several braids of hair out of J.K.’s scalp.

58.   After Mueller-Owens threw J.K. to the ground, Gue and Mueller-Owens restrained

      J.K. by pinning her to the ground.

59.   Throughout the physical contact from Mueller-Owens, J.K. continuously

      responded and indicated that she did not consent to be touched.

60.   At no point did Mueller-Owens direct J.K. to a predesignated safe space, as

      recommended by her IEP.




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61.   At no point did Mueller-Owens attempt to deescalate the situation, including by

      allowing J.K. to remain in the classroom, as recommended by her IEP.

62.   At no point did Mueller-Owens offer J.K. an opportunity to talk to her mother, as

      recommended by her IEP.

63.   Mueller-Owens’s use of force against J.K. violated the MMSD Guide to Restraint

      and Seclusion and Wis. Stat. § 118.305.

64.   At all times relevant, Mueller-Owens was carrying out duties as an employee of the

      Madison Metropolitan School District and acting within the scope of his

      employment.

65.   As a result of Mueller-Owens physical contact, J.K. has received medical care,

      incurred medical expenses, and has experienced pain, suffering, disruption of her

      education, loss of enjoyment of life, and other damages.

                            COUNT I
                 UNLAWFUL SEIZURE – 42 U.S.C. § 1983

66.   Paragraphs 1 through 65 are re-alleged and incorporated by reference herein.

67.   The actions of Mueller-Owens in physically seizing and using force on J.K. in these

      circumstances violated J.K.’s constitutional rights pursuant to the Fourth

      Amendment to the United States Constitution to be secure in her person against

      unreasonable seizure.

68.   At the time of the unreasonable seizure, Mueller-Owens was acting under the color

      of state law.

69.   The actions of Mueller-Owens, as alleged in this Complaint, were the direct and

      proximate cause of the constitutional violations described above and J.K.’s injuries.




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                             COUNT II
                  EXCESSIVE FORCE – 42 U.S.C. § 1983

70.   Paragraphs 1 through 69 are re-alleged and incorporated by reference herein.

71.   The actions of Mueller-Owens in striking, grabbing, pushing, tackling and

      otherwise using force in these circumstances violated J.K.’s constitutional rights

      pursuant to the Fourth Amendment to the United States Constitution to be secure

      in her person against unreasonable seizure in the form of excessive force.

72.   At the time of the use of excessive force, Mueller-Owens was acting under the color

      of state law.

73.   The actions of Mueller-Owens, as alleged in this Complaint, were the direct and

      proximate cause of the constitutional violations described above and J.K.’s injuries.

                                  COUNT III
                                  BATTERY

74.   Paragraphs 1 through 73 are re-alleged and incorporated by reference herein.

75.   Mueller-Owens intentionally touched J.K., causing her harm, in ways including but

      not limited to the following:

      a.      Pushing her;

      b.      Grabbing her;

      c.      Tackling her;

      d.      Hitting her;

      e.      Pulling her hair;

76.   J.K. did not consent to Mueller-Owens’s touch.

77.   At the time of the acts and omissions described in the Count, Mueller-Owens was

      acting as an employee of MMSD.



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78.   The actions of Mueller-Owens, as alleged in this Complaint, were the direct and

      proximate cause of the constitutional violations described above and J.K.’s injuries.

                                 COUNT IV
                                NEGLIGENCE

79.   Paragraphs 1 through 78 are re-alleged and incorporated by reference herein.

80.   Mueller-Owens was negligent in ways including, but not limited to, the following:

      a.     Escalating the disciplinary situation with J.K., in violation of her IEP,

             including by failing to redirect her to a predesignated safe place, failing to

             contact a trusted adult and failing to deescalate the situation;

      b.     Violating the standard set forth in MMSD policies regarding Restraint and

             Seclusion, including by using Restraint without the presence of a clear,

             present and imminent risk, using Restraint when it was not the least

             restrictive intervention feasible; using Restraint on a student with a known

             medical contraindication (asthma); using excessive force in restraint and

             failing to give adequate attention to J.K.’s head and neck.

81.   At the time of the acts and omissions described in the Count, Mueller-Owens was

      acting as an employee of MMSD.

82.   The actions of Mueller-Owens, as alleged in this Complaint, were the direct and

      proximate cause of the constitutional violations described above and J.K.’s injuries.

                                 COUNT V
                            PUNITIVE DAMAGES

83.   Paragraphs 1 through 82 are re-alleged and incorporated by reference herein.

84.   On information and belief, Mueller-Owens acted with intentional disregard and

      deliberate indifference of the rights of J.K.



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       85.      Mueller-Owens actions, taken with intentional disregard and deliberate

                indifference of the rights of J.K. were the direct and proximate cause of the

                constitutional violations described above and J.K.’s injuries.

                                          COUNT VI
                                      INDEMNIFICATION

       86. Paragraphs 1 through 82 are re-alleged and incorporated by reference herein.

       87. MMSD and ABC Insurance Company are required to indemnify Mueller-Owens

             pursuant to sec. 895.46, Stats. for any judgment entered against him because Mueller-

             Owens was acting within the scope of his employment when he committed the alleged

             acts and omissions.


                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff Mikiea Price, as mother and next friend of J.K., a minor,

requests judgment as follows:

       a)       For compensatory damages in an amount to be determined at trial;

       b)       For the costs, disbursements, and fees incurred by the Plaintiffs in this action,

                including reasonable attorneys’ fees pursuant to 42 U.S.C. § 1983;

       c)       For such other and further relief as the Court finds just and equitable.




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                                  JURY DEMAND

The plaintiffs demand a jury trial on all issues so triable.



Respectfully submitted this 11th day of October, 2019


                                        /s/ Daniel S. Lenz
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